Case 1:17-cr-20156-FAM Document 37 Entered on FLSD Docket 07/18/2017 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20156-CR-MORENO(s)


  UNITED STATES OF AMERICA

  vs.

  CHRISTOPHER SCOTT VEGA,

                          Defendant.
  ____________________________________/


                          MOTION FOR DOWNWARD DEPARTURE

         Pursuant to U.S.S.G. '5K1.1, the United States of America hereby moves for a downward

  departure from the advisory Sentencing Guidelines range applicable to defendant Christopher

  Scott Vega (Vega) in order to reflect his substantial assistance in the prosecution of others. In

  support of this motion, the Government states as follows:

         1.      On March 23, 2017, a federal grand jury in Miami returned a five-count superseding

  indictment against Vega. Count One alleged conspiracy to possess with intent to distribute 50

  grams or more of methamphetamine, in violation of 21 U.S.C. § 846; Counts Two and Four each

  alleged distribution of 5 grams or more of methamphetamine, in violation of 21 U.S.C. § 841(a)(1);

  and Counts Three and Five each alleged possession with intent to distribute 5 grams or more of

  methamphetamine, in violation of 21 U.S.C. § 846.

         2.      On April 28, 2017, Vega pled guilty to Count One of the superseding indictment.

  His sentencing hearing is scheduled for July 19, 2017.

         3.      Based on the facts of this case, as will be detailed at the sentencing hearing, Vega=s


                                                   1
Case 1:17-cr-20156-FAM Document 37 Entered on FLSD Docket 07/18/2017 Page 2 of 3



  assistance warrants a reduction in sentence under U.S.S.G. '5K1.1.

         4.     Accordingly, the United States respectfully moves this Court for a 20% reduction

  in Vega=s sentence pursuant to U.S.S.G. '5K1.1.

                                                      Respectfully submitted,
                                                      BENJAMIN G. GREENBERG
                                                      ACTING UNITED STATES ATTORNEY

                                                By:    /s/ Robert J. Brady, Jr.
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                                                 2
Case 1:17-cr-20156-FAM Document 37 Entered on FLSD Docket 07/18/2017 Page 3 of 3



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 18, 2017, I electronically filed the foregoing document

  with the Clerk of the Court and all counsel of record using CM/ECF.


                                                      /s/ Robert J. Brady, Jr.
                                                     ROBERT J. BRADY, JR.
                                                     Assistant United States Attorney




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